            Case 1:19-cv-11764-AT Document 91 Filed 12/31/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ARLENE DELGADO,

                                   Plaintiff,                 Civil Case No.: 19-cv-11764
                 v.
                                                              NOTICE   OF   PARTIAL      DISMISSAL
                                                              PURSUANT TO FRCP 41(a)(1)(A)(i), AS TO
                                                              ONLY DEFENDANT TRUMP FOR AMERICA,
                                                              INC.


DONALD J. TRUMP FOR PRESIDENT, INC.,
TRUMP FOR AMERICA, INC.,
SEAN SPICER, individually,
REINCE PRIEBUS, individually,
STEPHEN BANNON, individually,

                                    Defendants.
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        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff and her counsel hereby

give notice that the above-styled action is voluntarily dismissed, with prejudice, as to Defendant

Trump For America, INC., only. This notice does not dismiss any other party to the action.


Dated: December 22, 2021

                                                              DEREK SMITH LAW GROUP, PLLC


                                                     By:      __/s/ Abe Melamed____________
                                                              Abraham Z. Melamed, Esq.
                                                              Attorney for Plaintiff
                                                              1 Penn Plaza, Suite 4905
                                                              New York, NY 10119
                                                              212-587-0760

SO ORDERED:

_____________________________________
   Hon. Analisa Torres, U.S.D.J
